          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                        CRIMINAL NO. 3:04CR190


UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                      ORDER
                         )
                         )
THOMAS L. JACOBS         )
                         )


      THIS MATTER is before the Court on the Defendant's motion for a

stay of sentence pending appeal of his conviction. The motion is denied.



                                I. STANDARD

      The release of a defendant after conviction but during the pendancy

of an appeal is controlled by 18 U.S.C. § 3143(b) which provides in

pertinent part:

      [T]he judicial officer shall order that a person who has been
      found guilty of an offense and sentenced to a term of
      imprisonment, and who has filed an appeal . . . be detained,
      unless the judicial officer finds –
             (A) by clear and convincing evidence that the person is
      not likely to flee or pose a danger to the safety of any other
      person or the community if released . . .; and




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            (B) that the appeal is not for the purpose of delay and
      raises a substantial question of law or fact likely to result in –
            (i) reversal,
            (ii) an order for a new trial,
            (iii) a sentence that does not include a term of imprisonment, or
            (iv) a reduced sentence to a term of imprisonment less than the
            total of the time already served plus the expected duration of
            the appeal process.

18 U.S.C. § 3143(b) (emphasis added). "The clear language of th[e]

section requires the judicial officer to order the person detained once a

finding of guilt has been made. While the section does permit some

releases pending appeal, it is obvious from the statute that such releases

are to be the exception." United States v. Hamrick, 720 F. Supp. 66, 67

(W.D.N.C. 1989).

      This Defendant is not likely to flee or to pose a danger to any person

or the community pending the appeal. However, the undersigned does not

find the question of law raised by the appeal is substantially likely to result

in reversal or a lesser sentence. A substantial question, for these

purposes, is "a 'close' question or one that very well could be decided the

other way." United States v. Steinhorn, 927 F.2d 195, 196 (4th Cir.

1991); Hamrick, supra, at 68. Failing any such showing, the undersigned

is without any discretion to grant the relief requested.




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     Defendant is advised that he may renew this application before the

Fourth Circuit Court of Appeals. Fed. R. App. P. 8, 18.



                                II. ORDER

     IT IS, THEREFORE, ORDERED that the Defendant's motion for a

stay of sentence pending appeal is hereby DENIED.




                                     Signed: August 21, 2006




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